               Case 19-30106-KKS          Doc 42      Filed 12/13/19     Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION
In re

Carl Daniel Sims aka Carl D. Sims aka Carl Sims
                                                           CHAPTER         7
                                                           CASE NO.        19-30106-KKS
      Debtor(s)
______________________________/

RESPONSE BY MICHIGAN MUTUAL INC. TO TRUSTEE’S MOTION TO APPROVE
          SHORT SALE OF REAL PROPERTY FREE AND CLEAR
                           (Doc. No. 37)

         MICHIGAN MUTUAL INC. ("Creditor"), responds to the Trustee’s Motion to Approve

a Short Sale of Real Property Free and Clear (Doc No. 37) as to the following Real Property

located at512 DECATUR AVE, PENSACOLA, FL 32507, and more particularly described as

LOTS 3 AND 4, BLOCK 103, BEACH HAVEN, A SUBDIVISION OF A PORTION OF

SECTION 54, TOWNSHIP 2 SOUTH, RANGE 30 WEST, AND OF SECTION 35,

TOWNSHIP 2 SOUTH, RANGE 31 WEST, ESCAMBIA COUNTY, FLORIDA, ACCORDING

TO THE PLAT THEREOF RECORDED IN DEED BOOK 46 AT PAGE 51, OF THE PUBLIC

RECORDS OD SAID COUNTY. ("Property") and states as follows:

         1.    The Trustee has filed a Motion to Short Sale Real Property Free and Clear (Doc

No. 37) seeking permission to short sell property and state that they have received a short sale

offer.

         2.    Creditor does not object to the Trustee’s' Motion to the extent that Creditor is

allowed to review the proposed short sale contract under its standard short sale review process

and that the sale is subject to Creditor's terms and conditions and written approval is provided by

MICHIGAN MUTUAL INC. prior to the closing.

         3.    Creditor objects to entry of an Order compelling it to accept the terms of the

proposed short sale contract, or sets any time line for review of the short sale contract, absent its

standard short sale review process and written approval.

         4.    Creditor is filing this Response out of an abundance of caution based upon its
               Case 19-30106-KKS          Doc 42     Filed 12/13/19     Page 2 of 2



experience in other cases where similar motions have been filed and granted but the sale was not

held in accordance with Creditor’s short sale procedures. The Order on the Trustee’s Motion

should be clear that the Creditor is not compelled to participate in a short sale of the Property

absent its consent and any sale shall be subject to its standard procedures as outlined in the

approval letter.

       WHEREFORE, Creditor requests that the Court enter an Order Granting the Trustee’s

Motion subject to the above conditions.



                                                      /s/ Jessica Hicks
                                                      Jessica Hicks
                                                      Kass Shuler, P.A.
                                                      P.O. Box 800
                                                      Tampa, FL 33601
                                                      Phone: (813) 229-0900 Ext. 1465
                                                      Fax: (813) 229-3323
                                                      jhicks@kasslaw.com
                                                      Florida Bar No. 1003462

                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
December 13, 2019, by U.S. Mail and/or electronic mail via CM/ECF to: Carl Daniel Sims aka
Carl D. Sims aka Carl Sims, 512 Decatur Ave., Pensacola, FL 32507; Steven Jurnovoy
landj@4-debtor.com; Mary W. Colon, Trustee trustee@marycolon.com.



                                                      /s/ Jessica Hicks
                                                      Jessica Hicks (x1465)


1807798B/mb
